    Case: 1:17-cv-02635-CAB Doc #: 313 Filed: 04/05/24 1 of 6. PageID #: 19715




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 JAMES HAYDEN,

                 Plaintiff,
                                                     CASE NO. 1:17-cv-02635-CAB
         v.
                                                     JUDGE CHRISTOPHER A. BOYKO
 2K GAMES, INC., a Delaware corporation,
        and                                          AMENDED PLAINTIFF’S EXHIBIT
 TAKE-TWO INTERACTIVE SOFTWARE,                      INDEX
 INC., a Delaware corporation,

                 Defendants

       Plaintiff James Hayden hereby submits the attached Amended Exhibit Index.

       Plaintiff reserves the right to add additional exhibits for rebuttal or impeachment purposes

and to add any exhibit listed or otherwise identified by Defendants 2K Games, Inc. and Take-Two

Interactive Software, Inc. Plaintiff reserves the right to use as an exhibit or admit into evidence

any written discovery response served by any party or third party. Plaintiff also reserves the right

to amend this Exhibit Index and to add additional exhibits to the full extent allowed by the Court.




                                                 1
  Case: 1:17-cv-02635-CAB Doc #: 313 Filed: 04/05/24 2 of 6. PageID #: 19716




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION
JAMES HAYDEN,
              Plaintiff,
                                                   CASE NO. 1:17-cv-02635-CAB
      v.
2K GAMES, INC.,
                                                   JUDGE CHRISTOPHER A.
a Delaware corporation,
                                                   BOYKO
      and
TAKE-TWO INTERACTIVE SOFTWARE,
                                                   PLAINTIFF’S   AMENDED
INC.,
                                                   EXHIBIT INDEX
a Delaware corporation,
              Defendants

 Ex. No.                         Description / Bates # / Dkt. # #
PX-0001 VAu 1-263-888 registration certificate and deposit copy
PX-0002 VAu 1-270-802 registration certificate and deposit copy
PX-0003 Samsung agreement (HAYDEN_000792)
PX-0004 Samsung purchase order (HAYDEN_000805-000806)
PX-0005 Sprite agreement (HAYDEN_000253 – 000258)
PX-0006 Invoice for Sprite agreement (HAYDEN_000017)
PX-0007 Warner Bros. Space Jam 2 Agreement (HAYDEN_002423 – 002425)
PX-0008 Tonal Agreement
PX-0009 Pepsi-Cola Agreement (HAYDEN_002000 – 002001)
PX-0010 Warner Bros. House Party Agreement (HAYDEN_002427 – 002429)
PX-0011 10/04/2016 email to Welch (HAYDEN_000838-000839)
PX-0012 12/06/2016 email series (HAYDEN_000039)
PX-0013 Email series (HAYDEN_001880)
PX-0014 Email series (HAYDEN_001739)
PX-0015 NBA 2K Game Clip Compilation
PX-0016 NBA 2K Game Clip Compilation II
PX-0017 First NBA 2K Game Clip Compilation
PX-0018 “Photos of NBA2K16 Xbox One game and box” (TAKE-TWO_0001145)
PX-0019 “Photos of NBA2K17 Xbox One game and box” (TAKE-TWO_0001146)
PX-0020 “Photos of NBA2K18 Xbox One game and box” (TAKE-TWO_0001147)
PX-0021 “Photos of NBA2K19 Xbox One game and box” (TAKE-TWO_0001148)
PX-0022 “Photos of NBA2K20 Xbox One game and box” (TAKE-TWO_0002636)
        01/01/2013 LeBron James License Agreement (TAKE-TWO_00001204 –
PX-0023
        00001227)


                                      2
  Case: 1:17-cv-02635-CAB Doc #: 313 Filed: 04/05/24 3 of 6. PageID #: 19717




Ex. No.                             Description / Bates # / Dkt. # #
          03/20/2018 LeBron James License Agreement (TAKE-TWO_00001233-
PX-0024
          00001259)
PX-0025   Everyone’s On Final Creative (TAKE-TWO_00000854 – 00000873)
          email dated 03/31/2018, from James Argent to Alfie Brody (TAKE-
PX-0026
          TWO_00001668)
PX-0027   “NBA2K16 Feature List, 03/25/2015” (TAKE-TWO_00002217-00002224)
PX-0028   “NBA2K17 Feature List, 11/30/2015” (TAKE-TWO_00002153-00002164)
PX-0029   “NBA2K18 Feature List, 11/18/2016” (TAKE-TWO_00002166-00002180)
PX-0030   “NBA2K19 Feature List, 11/14/2017” (TAKE-TWO_00002297-00002310)
PX-0031   “NBA2K20 Feature List, 11/01/2018” (TAKE-TWO_00002312-00002323)
PX-0032   Email Series (TAKE-TWO_00002611-00002614)
PX-0033   TMZ Article (excerpt from Ex. 34 to Argent Deposition)
PX-0034   Email series re: Chris Brickley (TAKE-TWO_00004853-00004861)
          “NBA Tattoo Textures 2K Sports Process Documentation” (TAKE-
PX-0035
          TWO_00000584-00000603)
PX-0036   Texture Map—LeBron James (TAKE-TWO_00002538 – 00002539)
PX-0037   10/05/2015 email series (TAKE-TWO_00002504)
          “Document titled “NBA Console & PC Summary, Externals as of 03.31.21 In
PX-0038
          Millions USD” (TAKE-TWO_00006143)
          “Document titled NBA Console & PC Summary, Externals as of 03.31.21 in
PX-0039
          Millions USD” (TAKE-TWO_00006144-00006146)
          “Document titled NBA Console & PC Summary, Externals as of 03.31.21 in
PX-0040
          Millions USD” (TAKE-TWO_00006147)
          “Document titled NBA Console & PC Summary, Externals as of 03.31.21 in
PX-0041
          Millions USD” (TAKE-TWO_00006148)
          “Document titled NBA Console & PC Summary, Externals as of 03.31.21 in
PX-0042
          Millions USD” (TAKE-TWO_00006149-00006152)
          Screen shot capture from Twitter page of Mr. Stauffer (Ex. 2 to Stauffer
PX-0043
          Deposition)
          “Screen shot capture from Twitter page of Mr. Stauffer” (Ex. 4 to Stauffer
PX-0044
          Deposition)
PX-0045   7/3/2018 Stauffer Email (TAKE-TWO_00004616 – 00004617)
PX-0046   9/19/2016 email series (TAKE-TWO_00004284)
PX-0047   2K Wish List (TAKE-TWO_00004246-00004259)
PX-0048   2K17 Art Goals (TAKE-TWO_00002506-00002513)
PX-0049   Take-Two Behind the Art Video (HAYDEN_000587)
PX-0050   12/03/2016 email series (PIXELGUN_0007434)



                                           3
  Case: 1:17-cv-02635-CAB Doc #: 313 Filed: 04/05/24 4 of 6. PageID #: 19718




Ex. No.                             Description / Bates # / Dkt. # #
          Tweet by “Ronnie 2K 2K21,” Twitter, accessed at
PX-0051
          https://twitter.com/Ronnie2K/status/1014290387819692032.
PX-0052   Hayden Nike Video (https://vimeo.com/9797215)
PX-0053   Compendium of Certain Evidence relied on by Expert Michal Malkiewicz
PX-0054   Expert Report of Michal A. Malkiewicz with Appendices
PX-0055   Rebuttal Expert Report of Michal A. Malkiewicz with Appendices
PX-0056   Supplemental Report of Michal Malkiewicz with Appendices
PX-0057   Compendium of Certain Evidence relied on by Expert Tolga Bilgicer
PX-0058   Rebuttal Expert Report of H. Tolga Bilgicer, Ph.D. with Appendices
PX-0059   Compendium of Certain Evidence relied on by Expert Justin Lenzo
PX-0060   Rebuttal Expert Report of Dr. Justin Lenzo with Appendices
PX-0061   Supplemental Report of Dr. Justin Lenzo with Appendices
PX-0062   Malackowski Report with Appendices (5-27-2021)
PX-0063   Malackowski Rebuttal Report with Appendices (7-1-2021)
PX-0064   Malackowski Supplemental Report with Appendices (8-16-2021)
PX-0065   Malackowski Second Supplemental Report with Appendices (2-22-2024)
          Responsive Expert Report of James E. Malackowski submitted in Oracle America,
PX-0066
          Inc. v. Google Inc., Case No. CV 10-03561
PX-0067   Report of E. Deborah Jay with Appendices (5-20-2021)
PX-0068   Supplemental Report of E. Deborah Jay with Appendices (8-13-2021)
PX-0069   Reference Guide on Survey Research by Shari Seidman Diamond
PX-0070   Expert Report and Declaration of Ian Bogost with Appendices
PX-0071   Rebuttal Expert Report and Declaration of Ian Bogost with Appendices
PX-0072   Exhibit 6 to Ian Bogost Deposition
PX-0073   Expert Report and Declaration of Nina Jablonski with Appendices
PX-0074   Ex. 9 to Nina Jablonski Deposition
PX-0075   Ex. 10 to Nina Jablonski Deposition




                                           4
   Case: 1:17-cv-02635-CAB Doc #: 313 Filed: 04/05/24 5 of 6. PageID #: 19719




Dated: April 5, 2024                       Respectfully submitted,

                                           By: /s/ Andrew Alexander
                                           John Cipolla (Ohio Bar No. 0043614)
                                           Daniel McMullen (Ohio Bar No. 0034380)
                                           Todd R. Tucker (Ohio Bar No. 0065617)
                                           Andrew Alexander (Ohio Bar No. 0091167)
                                           Josh A. Friedman (Ohio Bar No. 0091049)
                                           Dustin Likens (Ohio Bar No. 0097891)
                                           CALFEE, HALTER & GRISWOLD LLP
                                           The Calfee Building
                                           1405 East Sixth Street
                                           Cleveland, Ohio 44114-1607
                                           Telephone: (216) 622-8200
                                           Facsimile: (216) 241-0816
                                           jcipolla@calfee.com
                                           dmcmullen@calfee.com
                                           ttucker@calfee.com
                                           aalexander@calfee.com
                                           jfriedman@calfee.com
                                           dlikens@calfee.com

                                           Of Counsel

                                           Kimberly A. Pinter (Ohio Bar No. 0084277)
                                           CALFEE, HALTER & GRISWOLD LLP
                                           The Calfee Building
                                           1405 East Sixth Street
                                           Cleveland, Ohio 44114-1607
                                           Telephone: (216) 622-8200
                                           Facsimile: (216) 241-0816
                                           kpinter@calfee.com




                                       5
   Case: 1:17-cv-02635-CAB Doc #: 313 Filed: 04/05/24 6 of 6. PageID #: 19720




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2024, a copy of the foregoing was filed electronically.

Notice of this filing was sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt, and parties may access this filing through the Court’s

system.

                                                    /s/ Andrew Alexander
                                                    One of the attorneys for Plaintiff




                                                6
